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               EXHIBIT V
  2022.05.27 Good Morning America
              Interview
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                                                                              Page 1


         ------------------------------------------
         SAGE
         SAGE HUMPHRIES,
              HUMPHRIES, et
                         et al.
                            al.

                                        Plaintiffs,
                                        Plaintif


                              v.
                              Vv.


         MITCHELL
         MITCHELL TAYLOR
                  TAYLOR BUTTONS
                         BUTTONS and
                                 and DUSTY
                                     DUSTY BUTTONS,
                                           BUTTONS,

                                        Defendant.
                                        Defendant.

         ------------------------------------------




                        AUDIO
                        AUDIO TRANSCRIPTION
                              TRANSCRIPTION

                    LENGTH
                    LENGTH OF
                           OF AUDIO
                              AUDIO FILE:
                                    FILE: 4:10
                                          4:10


                     MAGNA
                     MAGNA   LEGAL
                             LEGAL   SERVICES
                                     SERVICES
                320
                320 West
                    West 37th
                          37th Street,
                                 Street,   12th
                                           12th Floor
                                                  Floor
                    New
                    New York,
                         York,   New
                                 New York
                                      York 10018
                                            10018
                          (866)624-6221
                           (866) 624-6221




         Reported
         Reported by:
                  by:        Marissa
                             Marissa Mignano
                                     Mignano

         Job
         Job Number:
             Number:         855957
                             855957




                       MAGNA®         LEGAL   SERVICES
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                                                                            Page 2
    1                 Audio
                      Audio Transcription
                            Transcription

    2                NARRATOR:
                     NARRATOR:      A
                                    A GMA
                                      GMA exclusive,
                                          exclusive, the
                                                     the

    3         bombshell
              bombshell federal
                        federal lawsuit.
                                lawsuit.              Seven
                                                      Seven

    4         dancers
              dancers alleging
                      alleging sexual
                               sexual abuse
                                      abuse by
                                            by a
                                               a

    5         former
              former Boston
                     Boston ballet
                            ballet star
                                   star and
                                        and her
                                            her

    6         husband.
              husband.       One
                             One of
                                 of those
                                    those dancers,
                                          dancers, Sage
                                                   Sage

    7         Humphries,
              Humphries, is
                         is now
                            now sharing
                                sharing her
                                        her story
                                            story on
                                                  on

    8         camera
              camera for
                     for the
                         the first
                             first time
                                   time as
                                        as she
                                           she sat
                                               sat

    9         down
              down with
                   with Amy.
                        Amy.

  10                 AMY
                     AMY ROBACH:
                         ROBACH:       Tell
                                       Tell me
                                            me how
                                               how you
                                                   you first
                                                       first

  11          met Dusty
              met Dusty Button
                        Button and
                               and Mitchell
                                   Mitchell Taylor
                                            Taylor

  12          Button.
              Button.

  13                 SAGE
                     SAGE HUMPHRIES:
                          HUMPHRIES:        Dusty
                                            Dusty was
                                                  was

  14          obviously
              obviously a
                        a staple
                          staple of
                                 of the
                                    the company.
                                        company.                 She
                                                                 She

  15          was
              was the
                  the star
                      star and
                           and everybody
                               everybody sort
                                         sort of
                                              of

  16          looked
              looked at
                     at her
                        her with
                            with awe.
                                 awe.

  17                 Dusty
                     Dusty had
                           had started
                               started conversations
                                       conversations

  18          with
              with me
                   me casually
                      casually in
                               in rehearsal.
                                  rehearsal.             And
                                                         And one
                                                             one

  19          day
              day I
                  I remember
                    remember she
                             she said,
                                 said, you
                                       you should
                                           should

  20          really
              really come
                     come over
                          over and
                               and you
                                   you should
                                       should meet
                                              meet my
                                                   my

  21          husband.
              husband.       She
                             She said,
                                 said, you
                                       you will
                                           will love
                                                love him.
                                                     him.

  22          They
              They asked
                   asked me
                         me questions
                            questions about
                                      about my
                                            my family,
                                               family,

  23          about
              about my
                    my past,
                       past, where
                             where I've
                                   I've lived,
                                        lived, things
                                               things

  24          that
              that I've
                   I've experienced,
                        experienced, relationships
                                     relationships

  25          that
              that I've
                   I've had.
                        had.       It
                                   It escalated
                                      escalated fairly
                                                fairly




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                                                                           Page 3
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                      Audio Transcription
                            Transcription

    2         quickly.
              quickly.

    3                Taylor
                     Taylor came
                            came up
                                 up to
                                    to me
                                       me and
                                          and presented
                                              presented

    4         the
              the idea
                  idea of
                       of him
                          him becoming
                              becoming my
                                       my manager.
                                          manager.               He
                                                                 He

    5         was
              was like,
                  like, II can
                           can help
                               help you,
                                    you, you
                                         you know,
                                             know, grow
                                                   grow

    6         your
              your Instagram.
                   Instagram.      But
                                   But that
                                       that led
                                            led to
                                                to him
                                                   him

    7         acquiring
              acquiring passwords
                        passwords of
                                  of mine,
                                     mine, passwords
                                           passwords

    8         for
              for my
                  my email,
                     email, for
                            for my
                                my lock
                                   lock screen.
                                        screen.             It
                                                            It

    9         did
              did eventually
                  eventually start
                             start to
                                   to turn
                                      turn into
                                           into

  10          something
              something that
                        that was
                             was controlling.
                                 controlling.

  11                 NARRATOR:
                     NARRATOR:     Humphries alleged
                                   Humphries alleged in
                                                     in

  12          the
              the suit
                  suit that
                       that as
                            as time
                               time went
                                    went on,
                                         on, the
                                             the

  13          Buttons
              Buttons manipulated
                      manipulated and
                                  and brutalized
                                      brutalized her
                                                 her

  14          and
              and that
                  that they
                       they also
                            also sexually
                                 sexually assaulted
                                          assaulted

  15          and
              and verbally
                  verbally abused
                           abused her.
                                  her.

  16                 AMY
                     AMY ROBACH:
                         ROBACH:      At
                                      At what
                                         what point
                                              point do
                                                    do you
                                                       you

  17          say
              say that
                  that the
                       the direction
                           direction turned
                                     turned sexual?
                                            sexual?

  18                 SAGE
                     SAGE HUMPHRIES:
                          HUMPHRIES:       It
                                           It was
                                              was totally
                                                  totally a
                                                          a

  19          normal
              normal night.
                     night.      He
                                 He suggested
                                    suggested that
                                              that we
                                                   we all
                                                      all

  20          watch
              watch a
                    a movie
                      movie together.
                            together.          They
                                               They thought
                                                    thought we
                                                            we

  21          should
              should all
                     all have
                         have one
                              one big
                                  big group
                                      group sleepover
                                            sleepover

  22          and
              and bring
                  bring the
                        the mattress
                            mattress out
                                     out into
                                         into the
                                              the

  23          living
              living room.
                     room.      II thought,
                                   thought, again,
                                            again, that
                                                   that

  24          that
              that was
                   was uncomfortable.
                       uncomfortable.          So
                                               So we
                                                  we just
                                                     just hung
                                                          hung

  25          out,
              out, we
                   we watched
                      watched a
                              a movie
                                movie and
                                      and Dusty
                                          Dusty had
                                                had




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                                                                          Page 4
    1                 Audio
                      Audio Transcription
                            Transcription

    2         fallen
              fallen asleep.
                     asleep.      II was
                                     was falling
                                         falling asleep.
                                                 asleep.

    3         And
              And when
                  when I
                       I was
                         was falling
                             falling asleep,
                                     asleep, that
                                             that was
                                                  was

    4         the
              the first
                  first time
                        time that
                             that he
                                  he violated
                                     violated me.
                                              me.

    5                And
                     And you
                         you think
                             think that
                                   that you're
                                        you're going
                                               going to
                                                     to

    6         know
              know to
                   to scream
                      scream or
                             or to
                                to get
                                   get up
                                       up or
                                          or to
                                             to make
                                                make a
                                                     a

    7         loud
              loud noise
                   noise or
                         or do
                            do anything
                               anything to
                                        to stop
                                           stop it
                                                it

    8         from
              from happening,
                   happening, but
                              but I
                                  I just
                                    just froze
                                         froze and
                                               and my
                                                   my

    9         body
              body just
                   just tightened
                        tightened and
                                  and I
                                      I just
                                        just waited
                                             waited

  10          for
              for it
                  it to
                     to be
                        be over.
                           over.

  11                 NARRATOR:
                     NARRATOR:     The
                                   The lawsuit
                                       lawsuit also
                                               also

  12          alleges
              alleges the
                      the Buttons
                          Buttons forced
                                  forced Sage
                                         Sage to
                                              to live
                                                 live

  13          with
              with them
                   them full-time
                        full-time and
                                  and she
                                      she wasn't
                                          wasn't

  14          allowed
              allowed to
                      to speak
                         speak to
                               to her
                                  her parents
                                      parents without
                                              without

  15          their
              their permission.
                    permission.       Sage's
                                      Sage's parents
                                             parents

  16          eventually
              eventually intervened
                         intervened and
                                    and brought
                                        brought her
                                                her

  17          back
              back to
                   to California
                      California and
                                 and she
                                     she began
                                         began to
                                               to

  18          process
              process what
                      what she
                           she says
                               says happened
                                    happened with
                                             with the
                                                  the

  19          Buttons
              Buttons over
                      over the
                           the span
                               span of
                                    of about
                                       about four
                                             four

  20          months.
              months.

  21                 SAGE
                     SAGE HUMPHRIES:
                          HUMPHRIES:       They
                                           They had
                                                had told
                                                    told me
                                                         me

  22          so
              so many
                 many lies,
                      lies, even
                            even about
                                 about my
                                       my family.
                                          family.               And
                                                                And

  23          II didn't
                 didn't expect
                        expect it
                               it from
                                  from a
                                       a woman.
                                         woman.           II
  24          didn't
              didn't expect
                     expect it
                            it from
                               from a
                                    a married
                                      married couple.
                                              couple.

  25          II didn't
                 didn't expect
                        expect it
                               it in
                                  in the
                                     the ballet
                                         ballet world.
                                                world.




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                                                                           Page 5
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                      Audio Transcription
                            Transcription

    2         II thought,
                 thought, I'm
                          I'm safe.
                              safe.       II thought
                                             thought that
                                                     that

    3         they
              they had
                   had genuine
                       genuine intentions.
                               intentions.             But
                                                       But it
                                                           it can
                                                              can

    4         happen
              happen and
                     and it
                         it does
                            does happen.
                                 happen.

    5                NARRATOR:
                     NARRATOR:     An
                                   An attorney
                                      attorney for
                                               for the
                                                   the

    6         Buttons
              Buttons tells
                      tells ABC
                            ABC News
                                News the
                                     the Buttons
                                         Buttons

    7         unequivocally
              unequivocally deny
                            deny all
                                 all allegations
                                     allegations in
                                                 in

    8         the
              the complaint
                  complaint and
                            and seriously
                                seriously question
                                          question the
                                                   the

    9         public
              public relations
                     relations campaign
                               campaign that's
                                        that's being
                                               being

  10          waged
              waged against
                    against them.
                            them.

  11                 Humphries'
                     Humphries' attorney,
                                attorney, Sigrid
                                          Sigrid

  12          McCawley
              McCawley is
                       is also
                          also representing
                               representing the
                                            the six
                                                six

  13          other
              other plaintiffs.
                    plaintiffs.

  14                 SIGRID
                     SIGRID MCCAWLEY:
                            MCCAWLEY:          Justice
                                               Justice is
                                                       is

  15          obviously
              obviously critical
                        critical to
                                 to these
                                    these women,
                                          women, so
                                                 so

  16          we're
              we're working
                    working very
                            very actively
                                 actively to
                                          to bring
                                             bring

  17          this
              this case
                   case to
                        to trial.
                           trial.

  18                 NARRATOR:
                     NARRATOR:     Humphries
                                   Humphries eventually
                                             eventually

  19          returned
              returned to
                       to the
                          the Boston
                              Boston Ballet,
                                     Ballet, where
                                             where

  20          she's
              she's now
                    now an
                        an artist.
                           artist.        The
                                          The company
                                              company tells
                                                      tells

  21          ABC
              ABC News
                  News they
                       they terminated
                            terminated Dusty's
                                       Dusty's

  22          employment
              employment in
                         in May
                            May of
                                of 2017.
                                   2017.             Humphries
                                                     Humphries

  23          says
              says she
                   she hopes
                       hopes to
                             to help
                                help others
                                     others by
                                            by sharing
                                               sharing

  24          her
              her story.
                  story.

  25                 SAGE
                     SAGE HUMPHRIES:
                          HUMPHRIES:       Healing
                                           Healing is
                                                   is not
                                                      not




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                                                                          Page 6
    1                  Audio
                       Audio Transcription
                             Transcription

    2         linear.
              linear.    It's
                         It's a
                              a process.
                                process.       And
                                               And you'll
                                                   you'll

    3         always
              always find
                     find moments
                          moments where
                                  where things
                                        things come
                                               come up
                                                    up

    4         and
              and trigger
                  trigger you.
                          you.      But
                                    But now
                                        now I
                                            I have
                                              have the
                                                   the joy
                                                       joy

    5         of
              of dancing
                 dancing back.
                         back.

    6                AMY
                     AMY ROBACH:
                         ROBACH:      For
                                      For Good
                                          Good Morning
                                               Morning

    7         America,
              America, Amy
                       Amy Robach,
                           Robach, ABC
                                   ABC News,
                                       News, New
                                             New York.
                                                 York.

    8                NARRATOR:
                     NARRATOR:     Good
                                   Good to
                                        to see
                                           see her
                                               her smiling
                                                   smiling

    9         there.
              there.    Thanks
                        Thanks to
                               to Amy
                                  Amy for
                                      for that
                                          that story.
                                               story.

  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25




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                                                                            Page 7
    1                 Audio
                      Audio Transcription
                            Transcription

    2
    3                 C E R T I F I C A T E
                      CERTIVFICATE

    4    STATE
         STATE OF
               OF NEW
                  NEW YORK
                      YORK )
                           )

    5                           :   SS
    6    COUNTY
         COUNTY OF
                OF NEW
                   NEW YORK)
                       YORK)

    7
    8                   I,
                        I, Marissa
                           Marissa Mignano,
                                   Mignano, a
                                            a Notary
                                              Notary

    9    Public
         Public within
                within and
                       and for
                           for the
                               the State
                                   State of
                                         of New
                                            New York,
                                                York,

  10     do
         do hereby
            hereby certify
                   certify the
                           the within
                               within is
                                      is a
                                         a

  11     a true
         a true and
                and accurate
                    accurate transcription
                             transcription of
                                           of the
                                              the

  12     audiotapes
         audiotapes recorded.
                    recorded.

  13                 II further
                        further certify
                                certify that
                                        that I
                                             I am
                                               am

  14     not
         not related
             related to
                     to any
                        any of
                            of the
                               the parties
                                   parties to
                                           to this
                                              this

  15     action by
         action by blood
                   blood or
                         or marriage,
                            marriage, and that
                                      and that I
                                               I am
                                                 am

  16     in
         in no
            no way
               way interested
                   interested in
                              in the
                                 the outcome
                                     outcome of
                                             of this
                                                this

  17     matter.
         matter.

  18                 IN
                     IN WITNESS
                        WITNESS WHEREOF,
                                WHEREOF, II have
                                            have

  19     hereunto
         hereunto set
                  set my
                      my hand
                         hand this
                              this 26th
                                   26th day
                                        day of
                                            of

  20     July
         July 2022.
              2022.

  21
  22                              Wareaaa
                              __________________________
  23                                MARISSA
                                    MARISSA MIGNANO
                                            MIGNANO

  24
  25




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                                                                                                    1

              A
              A              7:12
                            7:12                       casually
                                                       casually                 escalated
                                                                                escalated
  ABC
  ABC                       awe
                            awe                        2:18
                                                       2:18                      2:25
                                                                                 2:25
   5:6,21
   5:6,21 6:7
            6:7             2:16
                            2:16                       certify
                                                       certify                  et
                                                                                et
  abuse
  abuse                                                7:10,13
                                                        7:10,13                  1:2
                                                                                 1:2
                                          B            come
                                                       come                     eventually
                                                                                eventually
   2:4
   2:4
  abused
  abused
                            back
                            back                       2:20
                                                       2:20 6:3
                                                              6:3                3:9  4:16 5:18
                                                                                 3:94:16   5:18
   3:15                      4:17
                             4:17 6:5
                                    6:5                company
                                                       company                  everybody
                                                                                everybody
   3:15
  accurate
  accurate
                            ballet
                            ballet                     2:14
                                                       2:14 5:20
                                                              5:20               2:15
                                                                                 2:15
   7:11
   7:11
                             2:5  4:25 5:19
                             2:54:25     5:19          complaint
                                                       complaint                exclusive
                                                                                exclusive
  acquiring
  acquiring
                            becoming
                            becoming                   5:8
                                                        5:8                      2:2
                                                                                 2:2
   3:7
   3:7
                             3:4
                             3:4                       controlling
                                                       controlling              expect
                                                                                expect
  action
  action
                            began
                            began                      3:10
                                                        3:10                     4:23,24,25
                                                                                 4:23,24,25
   7:15
   7:15
                             4:17
                             4:17                      conversations
                                                       conversations            experienced
                                                                                experienced
  actively
  actively
                            big
                            big                        2:17
                                                       2:17                      2:24
                                                                                 2:24
   5:16                      3:21
                             3:21                      COUNTY
                                                       COUNTY
   5:16
                            blood
                            blood                      7:6
                                                        7:6                                F
                                                                                           F
  al
  al
   1:2
   1:2
                             7:15
                             7:15                      couple                   F
                                                                                F
  allegations
  allegations               body
                            body                       4:24                      7:3
                                                                                 7:3
   5:7
   5:7
                             4:9
                             4:9                       critical
                                                       critical                 fairly
                                                                                fairly
  alleged
  alleged
                            bombshell
                            bombshell                  5:15
                                                        5:15                     2:25
                                                                                 2:25
   3:11
   3:11
                             2:3
                             2:3                                                fallen
                                                                                fallen
                            Boston
                            Boston                                D
                                                                  D              4:2
                                                                                 4:2
  alleges
  alleges
   4:12
   4:12
                             2:5  5:19
                             2:55:19                   dancers
                                                       dancers                  falling
                                                                                falling
  alleging
  alleging
                            bring
                            bring                      2:4,6
                                                        2:4,6                    4:2,3
                                                                                 4:23
   2:4
   2:4
                             3:22 5:16
                             3:22   5:16               dancing
                                                       dancing                  family
                                                                                family
  allowed
  allowed
                            brought
                            brought                    6:5
                                                        6:5                      2:22
                                                                                 2:22 4:22
                                                                                       4:22
   4:14
   4:14
                             4:16
                             4:16                      day
                                                       day                      federal
                                                                                federal
  America
  America
                            brutalized
                            brutalized                 2:19
                                                        2:19 7:19
                                                              7:19               2:3
                                                                                 2:3
   6:7
   6:7
                             3:13
                             3:13                      Defendant
                                                       Defendant                FILE
                                                                                FILE
  Amy
  Amy
                            Button
                            Button                     1:7                       1:13
                                                                                  1:13
   2:9,10                    2:11,12
                             2:11,12                   deny                     find
                                                                                find
   2:9,10 3:16
            3:16 6:6,7,9
                  6:6,7,9
  artist
  artist
                            Buttons
                            Buttons                    5:7                       6:3
                                                                                 6:3
   5:20                      1:6,6
                             1:6,6 3:13
                                     3:13 4:12,19
                                           4:12,19     direction
                                                       direction                first
                                                                                first
   5:20
  asked                        5:6,6
                               5:6,6                   3:17
                                                        3:17                     2:8,10  4:4
                                                                                 2:8,104:4
  asked
   2:22
   2:22
                                                       Dusty
                                                       Dusty                    Floor
                                                                                Floor
                                       C
                                       C               1:6
                                                        1:6 2:11,13,17
                                                             2:11,13,17 3:25
                                                                        3:25     1:15
                                                                                  1:15
  asleep
  asleep
                            C
                            C
   4:2,2,3
   4:2,2.3
                                                       Dusty's
                                                       Dusty's                  forced
                                                                                forced
                            7:3,3
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